 •   Case 3:20-cv-00406-AJB-WVG Document 13 Filed 07/17/20 PageID.89 Page 1 of 50



     Ken I. Karan, Esq. SBN: 204843                                                Jul 17 2020
     LAW OFFICE OF KEN I. KARAN
 2   2907 Shelter Island Drive, Ste. 105-215
     San Diego, CA 92106                                                             s/ danieln1

 3   (760) 420-5488
     Fax (866) 841-5420
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 8                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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10
      DARRYL DUNSMORE,                               ))   CASE NO.: 3:20-cv-00406-AJB-WVG
11                                                   )
                    Plaintiff,                        )   SECOND DECLARATION OF KEN
12           vs.                                     )    KARAN IN SUPPORT OF FILING
                                                     )    AMENDED COMPLAINT
13    ST ATE OF CALIFORNIA, COUNTY OF                )
      SAN DIEGO, et al.,                             )
14                                                   )    Case Filed:   November 9, 2017
                    Defendants.                       )   CTRM:         4A
15                                                    )   Judge:        Hon. Anthony J. Battaglia
                                                                        United States Magistrate Judge
16
            I, Ken Karan, declare:
17
     1.     I am an attorney licensed to practice before all courts of the state of California, and the
18
     U.S . District Court, Southern District of California. I have personal knowledge of the following
19
     and am competent to testify thereto, except for those matters stated to be known on information
20
     and belief and as to those matters I believe them to be true.
21
     2.     I recently provided this Court with a declaration in support of a late filing of an amended
22
     complaint by Mr. Dunsmore.
23
     3.     I explained that I had an independent recollection of mailing Mr. Dunsmore' s amended
24
     complaint to the Court. I was wrong.
25
     4.     While moving file boxes over the weekend, I found Mr. Dunsmore' s amended complaint
26
     stacked on top of one box with another box on top of that. I am at fault for not handling Mr.
27
     Dunsmore's legal papers more carefully.
28
     Second Declaration of Ken Karan in Support of Filing Amended Complaint
     Case No.: 3:20-cv-00406-AJB-WVG
::

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          5.     Attached as Exhibit 1 is a true and correct original of the amended complaint Mr.

      2   Dunsmore is attempting to file. I have enclosed a self-addressed stamped envelope addressed to

      3   Mr. Dunsmore for mailing a conformed copy of the caption to him.

      4   6.     As I have for Mr. Dunsmore, I apologize to the Court for my error, and for the additional

      5   effort it may take to put Mr. Dunsmore' s case back on the calendar.

      6          I declare under penalty of perjury under the laws of the State of California that the
      7   foregoing is true and correct.

      8
      9   Dated: July 6, 2020
                                                         Signed:   ~ t;Cl')-a 9
     10                                                            Ken I. Karan, Esq. =

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          Second Declaration of Ken Karan in Support of Filing Amended Complaint
          Case No.: 3:20-cv-00406-AJB-WVG
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                                       United States District Court
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                                                              Plaintiff,                )          Case No. _ _ _ __
                                                                                        )          (To be supplied by Court Clerk)
   V.                                                                                   )
                                                                                        )          FIRST AMENDED
                                                                                                   Complaint under the
                                                                                                   Civil Rights Act
                                                                                                   42 U.S.C. § 1983

 (Enter full name of each defendant in this action .)
                                                                                                                    t.
 A. Jurisdiction

 Jurisdiction is invoked pursuant to 28 U .S.C. § 1343(a)(3) and 42 U.S.C . § 1983. If you wish to
 assert jurisdiction under different or additional authority, list them below.


 B. Parties

 1. Plaintiff: This complaint alleges that the civil rights of Plaintiff,



                                                                                                   (mailing address or place of confinement)
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                                     ......,__ -~=-Cr\.
                                                   ----=--"=--.;;-C-"------'----'-''----'---
                                                                   Q.                       0_--'--~'   were violated by the actions
                                                                  "-.I
 of the below named individuals. The actions were directed against Plaintiff at~ ~ -~=--=-="--,--
 (           ~ -l, ~\                                                                  I
                                                                         on (dates) ,-, u:: \v,\~ tJ
                                                                                                  __
          (institu'f?on/place where violation occurred)                           (~                    (Count 2)

                                                                                            0.A G,
 I 1983 SD Fonn
 (Rev. 2/05)
Case 3:20-cv-00406-AJB-WVG Document 13 Filed 07/17/20 PageID.106 Page 18 of 50



 2. Defendants: (Attach same information on additional pages if you are naming more than 4 defendants.)

    Defendant             G>o..J                 ~~                               resides in -   --===-=--=-- " -----"-"=-:'----'•--="--- - - - - - '
                                (name)                                                                      (County of residence)
 and is employed as a _ _G:,
                         ~ ~~~~                                 ~ ---------·                              This defendant is sued in
 his/her               individual •                               (Check one or both.)    Explain how this defendant was acting
 under color of law:               ~~~~~~~----1=~-                        ..i.l~~~u~~~c....!...-               ~ ~ ~ ~ ~ ~ ~- - -
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                                                (defendant's position/title (if any))
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                                                (d.e fendant's position/title (if any))
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   Defendant -:-=_.._:--=-~=.c==-- -=-.Lu:......;..i..:::__ resides in - - --==-=~--l..::!. .\"-""~'---=- - - - '
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 § 1983 SD Fonn
 (Rev. 2/05)                                                                  2
Case 3:20-cv-00406-AJB-WVG Document 13 Filed 07/17/20 PageID.107 Page 19 of 50




 2. Defendants: (Attach same information on additional pages if yo u are naming mo re than 4 defendants.)




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 and is employed as a - - ' - - ~ - - - - - ~,,- ~ ~ - - - - · This defendant is sued in
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     Bivens   SD Form
     (Rev . &15)                                                                   2
Case 3:20-cv-00406-AJB-WVG Document 13 Filed 07/17/20 PageID.108 Page 20 of 50



 2. Defendants : (Attach same in fo rmation on additio na l pages if yo u are naming more than 4 de fe ndants.)

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 and is employed as a _ _ ___,,,_,_...........__..=,____.__~---------· This defendant is sued in
                                              (defendant's posit1on/t1tle (if any))
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  Defendant - - - -- -- - - -- -- - - resides in - - - - - - - - - - - - -- -
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                                              (defendant's posit1on/t1tle (if any))
 his/her       • indi v idual • official capacity.             (Check one or both)    Explain how this defendant was acting under
 color of law:
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  Defendant
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     (Rev. 8/15)                                                             2
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 C. Causes of Action (You may attach additional pages alleging other causes of action and the facts supporting
 them if necessary.)                                                                       ~                \
 Count 1: The following civil right has been violated:            (                                  11          ~
                                                                       (E.g., right to medical care, access to courts,

 due process, free speech, freedom of religion, freedom of association, freedom from cruel and unusual punishment,
 etc.)

   Supporting Facts: [Include all facts you consider important to Count I . State what happened clearly and in
 your own words. You need not cite legal authority or argument. Be certain to describe exactly what each defendant,
 by name, did to violate the right alleged in Count l .]
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 I 1983 SD Form
 (Rev. 2/05)                                              3
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     Case 3:20-cv-00406-AJB-WVG Document 13 Filed 07/17/20 PageID.110 Page 22 of 50
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Case 3:20-cv-00406-AJB-WVG Document 13 Filed 07/17/20 PageID.111 Page 23 of 50

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   Case 3:20-cv-00406-AJB-WVG Document 13 Filed 07/17/20 PageID.112 Page 24 of 50
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due process, free speech, freedom of religion, freedom of association, freedom from cruel and unusual punishment,
etc.)

   Supporting Facts: (Include all facts you consider important to Count 2. State what happened clearly and in
 your own words. You need not cite legal authority or argument. Be certain to describe exactly what each defendant,
 by name, did to violate the right alleged in Count 2.]




I 1983 SD Form
(Rev . 2/05)                                             4
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   Case 3:20-cv-00406-AJB-WVG Document 13 Filed 07/17/20 PageID.115 Page 27 of 50
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Case 3:20-cv-00406-AJB-WVG Document 13 Filed 07/17/20 PageID.118 Page 30 of 50


                                                                       (E.g., right to medical care, access to courts,

 due process, free speech, freedom of religion, freedom of association, freedom from cruel and unusual punishment,
 etc.)

   Supporting Facts: [Include all facts you consider important to Count 3. State what happened clearly and in
 your own words. You need not cite legal authority or argument. Be certain to describe exactly what each defendant,
 by name, did to violate the right alleged in Count 3.]




 D. Previous Lawsuits and Administrative Relief


 § 19&3 SD Fonn
 (Rev. 2/05)                                             5
  Case 3:20-cv-00406-AJB-WVG Document 13 Filed 07/17/20 PageID.119 Page 31 of 50
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  Case 3:20-cv-00406-AJB-WVG Document 13 Filed 07/17/20 PageID.121 Page 33 of 50
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Case 3:20-cv-00406-AJB-WVG Document 13 Filed 07/17/20 PageID.122 Page 34 of 50

  (d)        GROUNDFou




          Supporting FACT.S:



       -




         Did you raise GROUND FO UR in the California Supreme Court?
                      Yes :] No.
         If yes, answer the foliowing :
                  (I)        Nature of proceeding (i.e. , petition for review, habeas petition) :
                  (2)        Case number or citation:     l.,             A..
                  (3)        Result ( attach a copy of the court ' s opinion or order if available):



C IV 68 ( R ev . J a n . 200 6)
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Case 3:20-cv-00406-AJB-WVG Document 13 Filed 07/17/20 PageID.123 Page 35 of 50


    1. Have you filed other lawsuits in state or federal courts dealing with the same or similar facts
  involved in this case? • Yes • No.

      If your answer is "Yes", describe each suit in the space below. [If more than one, attach additional
 pages providing the same information as below.]

      (a) Parties to the previous lawsuit:
      Plaintiffs: - ~~ ~ ~__;_- - ~ ~ ~ ~ ~ ~- - - - - - - -- - -- - --




      (c) Disposition: [ For example, was the case dismissed, appealed, or still pending?] _ _ _ __ _ __
        ~0-!.               ~.        !~
      (d) Issues raised: __1/ ½~~L t:t:S~(;)~ rt~~~~~~~ - ~~ ~~ ~~ ~~----.!~~~8:.J...\
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      (e) Approximate date case was filed: _ ----"'-'-''----=-..:::==---- - - - - - - -- ~ - -
      (f) Approximate date of disposition:     -"---=--=--=--   -"----'¥---'---',__,_--"---'"----"---=----"-----'--''-----'----




  2. Have you previously sought and exhausted all forms of informal or formal relief from the
 proper administrative officials regarding the acts alleged in Part C above? [E.g., CDC Inmate/Parolee
 Appeal Form 602, etc.] ? !IT Yes D No.

   If your answer is "Yes", briefly describe how relief was sought and the results. If your answer
 is "No", briefly explain why administrative relief was not sought.




  ~   1983 SD Fonn
  (Rev. 2/05)                                             6
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  E. Request for Relief
    Plaintiff requests that this Court grant the following relief: \)12,,'\;>    V\.')
                   1.




  F. Demand for Jury Trial

       Plaintiff demands a trial by      Jury    • Court.   (Choose one.)

  G. Consent to Magistrate Judge Jurisdiction

      In order to insure the just, speedy and inexpensive determination of Section 1983 Prisoner cases
  filed in this district, the Court has adopted a case assignment involving direct assignment of these
  cases to magistrate judges to conduct all proceedings including jury or bench trial and the entry of
  final judgment on consent of all the parties under 28 U.S .C. § 636(c), thus waiving the right to
  proceed before a district judge. The parties are free to withhold consent without adverse substantive
  consequences.

     The Court encourages parties to utilize this efficient and expeditious program for case resolution
  due to the trial judge quality of the magistrate judges and to maximize access to the court system in
  a district where the criminal case loads severely limits the availability of the district judges for trial
  of civil cases. Consent to a magistrate judge will likely result in an earlier trial date. If you request
  that a district judge be designated to decide dispositive motions and try your case, a magistrate judge
  will nevertheless hear and decide all non-dispositive motions and will hear and issue a
  recommendation to the district judge as to all dispositive motions.

     You may consent to have a magistrate judge conduct any and all further proceedings in this case,
  including trial, and the entry of final judgment by indicating your consent below.

  Choose only one of the following:

    •         Plaintiff consents to magistrate
              judge jurisdiction as set forth
                                                     OR               Plaintiff requests that a district judge
                                                                      be designated to decide dispositive
                                                                      matters and trial in this case.
              above.



    Date                                                        Signature of Plaintiff




  § 1983 SD Form
  (Rev. 2/05)                                               7
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      Case3:20-cv-00406-AJB-WVG
            3:20-cv-00406-AJB-WVG Document
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 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11     DARRYL DUNSMORE,                               Case No.: 3:20-cv-00406-AJB-WVG
       Inmate Booking No. 19777041,
12
                                         Plaintiff,   ORDER: (1) GRANTING MOTION
13                                                    TO PROCEED IN FORMA
                          vs.                         PAUPERIS [ECF No. 3]; AND (2)
14
                                                      DISMISSING COMPLAINT FOR
15                                                    FAILING TO STATE A CLAIM
       STATE OF CALIFORNIA; SAN DIEGO                 PURSUANT TO 28 U.S.C. § 1915(e)(2)
16     COUNTY; SAN DIEGO SHERIFF'S                    AND 28 U.S.C. § 1915A(b)
17     DEP'T; DEPARTMENT OF
       CORRECTIONS; GORE
18     XAVIER BECCERA; ATTORNEY
19     GENERAL,
20                                    Defendants.

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22
23          Darryl Dunsmore ("Plaintiff'), currently housed at the San Diego Central Jail
24    located in San Diego, California, and proceeding prose, has filed a civil rights action
25    pursuant to 42 U.S.C. § 1983. (See Compl., ECF No. 1.) Irr addition, Plaintiff has filed a
26    Motion to Proceed In Forma Pauperis ("IFP") pursuant to 28 U.S .C. § 1915(a). (See ECF
27    No. 2.)
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 1    I.    Motion to Proceed IFP
 2          All parties instituting any civil action, suit or proceeding in a district court of the
 3    United States, except an application for writ of habeas corpus, must pay a filing fee. See
 4    28 U.S.C. § 1914(a). An action may proceed despite the plaintiffs failure to prepay the
 5    entire fee only ifhe is granted leave to proceed IFP pursuant to 28 U.S.C. § 1915(a). See
 6    Rodriguez v. Cook, 169 F.3d 1176, 1177 (9th Cir. 1999). However, if the plaintiff is a
 7    prisoner and is granted leave to proceed IFP, he nevertheless remains obligated to pay the
 8    entire fee in installments, regardless of whether his action is ultimately dismissed. See 28
 9    U.S.C. § 1915(b)(l) & (2); Taylor v. Delatoore, 281 F.3d 844,847 (9th Cir. 2002).
10          Under 28 U.S.C. § 1915, as amended by the Prison Litigation Reform Act
11    ("PLRA"), a prisoner seeking leave to proceed IFP must also submit a "certified copy of
12    the trust fund account statement (or institutional equivalent) for ... the six-month period
13    immediately preceding the filing of the complaint." 28 U.S.C. § 1915(a)(2); Andrews v.
14    King, 398 F.3d 1113, 1119 (9th Cir. 2005). From the certified trust account statement, the
15    Court assesses an initial payment of20% of (a) the average monthly deposits in the
16    account for the past six months, or (b) the average monthly balance in the account for the
17    past six months, whichever is greater, unless the prisoner has no assets. See 28 U.S.C.
18    § 1915(b)(l); 28 U.S.C. § 1915(b)(4). The institution having custody of the prisoner then
19    collects subsequent payments, assessed at 20% of the preceding month's income, in any
20    month in which the prisoner's account exceeds $10, and forwards them to the Court until
21    the entire filing fee is paid. See 28 U.S.C. § 1915(b)(2).
22          In support of his IFP Motion, Plaintiff has submitted a certified copy of his inmate
23    trust account statement. (ECF No. 3.) Plaintiffs statement shows that he had no
24    available funds to his credit at the time of filing. See 28 U.S.C. § 1915(b)(4) (providing
25    that "[i]n no event shall a prisoner be prohibited from bringing a civil action or appealing
26    a civil action or criminal judgment for the reason that the prisoner has no assets and no
27    means by which to pay the initial partial filing fee."); Taylor, 281 F.3d at 850 (finding
28    that 28 U.S.C. § 1915(b)(4) acts as a "safety-valve" preventing dismissal of a prisoner's

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 1 IFP case based solely on a "failure to pay ... due to the lack of funds available to him
 2    when payment is ordered.").
 3           Therefore, the Court GRANTS Plaintiffs Motion to Proceed IFP (ECF No. 3) and
 4    assesses no initial partial filing fee per 28 U.S.C. § 1915(b)(l). However, the entire $350
 5    balance of the filing fees due for this case must be collected by the San Diego County
 6     Sheriffs Department and forwarded to the Clerk of the Court pursuant to the installment
 7    payment provisions set forth in 28 U.S.C. § 1915(b)(l).
 8    II.    Screening of Complaint pursuant to 28 U.S.C. §§ 1915(e)(2)(B) and 1915A(b)
 9           A.     Standard of Review
10           Because Plaintiff is a prisoner and is proceeding IFP, his Complaint requires a pre-
11    answer screening pursuant to 28 U.S.C. § 1915(e)(2) and § 1915A(b). Under these
12     statutes, the Court must sua sponte dismiss a prisoner's IFP complaint, or any portion of
13    it, which is frivolous, malicious, fails to state a claim, or seeks damages from defendants
14    who are immune. See Williams v. King, 875 F.3d 500, 502 (9th Cir. 2017) (discussing 28
15    U.S.C. § 1915(e)(2)) (citing Lopez v. Smith, 203 F.3d 1122, 1126-27 (9th Cir. 2000) (en
16    bane)); Rhodes v. Robinson, 621 F.3d 1002, 1004 (9th Cir. 2010) (discussing 28 U.S:C.
17     § 1915A(b)). "The purpose of [screening] is 'to ensure that the targets of frivolous or
18    malicious suits need not bear the expense of responding."' Nordstrom v. Ryan, 762 F.3d
19    903,920 n.1 (9th Cir. 2014) (quoting Wheeler v. Wexford Health Sources, Inc., 689 F.3d
20     680,681 (7th Cir. 2012)).
21           "The standard for determining whether a plaintiff has failed to state a claim upon
22    which relief can be granted under§ 1915(e)(2)(B)(ii) is the same as the Federal Rule of
23     Civil Procedure 12(b)(6) standard for failure to state a claim." Watison v. Carter, 668
24    F.3d 1108, 1112 (9th Cir. 2012); see also Wilhelm v. Rotman, 680 F.3d 1113, 1121 (9th
25     Cir. 2012) (noting that screening pursuant to§ 1915A "incorporates the familiar standard
26     applied in the context of failure to state a claim under Federal Rule of Civil Procedure
27     12(b)(6)"). Federal Rules of Civil Procedure 8 and 12(b)(6) require a complaint to
28     "contain sufficient factual matter, accepted as true, to state a claim to relief that is

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 1 plausible on its face." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation
 2    marks omitted).
 3           Detailed factual allegations are not required, but "[t]hreadbare recitals of the
 4    elements of a cause of action, supported by mere conclusory statements, do not suffice."
 5 Id. "Determining whether a complaint states a plausible claim for relief [is] ... a context-
 6    specific task that requires the reviewing court to draw on its judicial experience and
 7    common sense." Id. The "mere possibility of misconduct" or "unadorned, the defendant-
 8    unlawfully-harmed me accusation[ s]" fall short of meeting this plausibility standard. Id.;
 9    see also Moss v. US. Secret Service, 572 F.3d 962, 969 (9th Cir. 2009).
10           B.      Plaintiffs Allegations1
11           Plaintiff alleges he is a "state prisoner being held in County Jail." (Compl. at 3.)
12    Plaintiff claims he has been "denied meaningful access" to the courts. (Id.) He further
13    claims that this denial of access has resulted in causing him to "serve a longer sentence
14    then [he] would have otherwise." (Id.)
15           Plaintiff is an "ADA inmate" and alleges he is "being discriminated against" and
16    "denied ADA access to all programs." (Id. at 4.) Plaintiff claims to be "totally disabled"
17    from Parkinson's disease. (Id.) Plaintiff also claims he has been "denied shower for 90
18    days." (Id.)
19           Plaintiff seeks injunctive relief, $60,000,000 in compensatory damages, and
20    $60,000,000 in punitive damages. (See id. at 7.)
21           C.      42 U.S.C. § 1983
22           Section 1983 is a "vehicle by which plaintiffs can bring federal constitutional and
23    statutory challenges to actions by state and local officials." Anderson v. Warner, 451 F.3d
24     1063, 1067 (9th Cir. 2006). To state a claim under 42 U.S.C. § 1983, a plaintiff must
25    allege two essential elements: ( 1) that a right secured by the Constitution or laws of the
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       The Court will refer to the page numbers as they are imprinted by the court' s electronic case filing
28    system.

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 1    United States was violated, and (2) that the alleged violation was committed by a person
 2    acting under the color of state law. West v. Atkins, 487 U.S. 42, 48 (1988); Najfe v. Frye,
 3    789 F.3d 1030, 1035-36 (9th Cir. 2015).
 4          D.     Access to Courts claims
 5          Plaintiffs access to courts claim are far from clear but he generally alleges that he
 6    has been denied access to the courts which purportedly led to Plaintiff "serv[ing] a longer
 7    sentence." (Compl. at 3.)
 8          Prisoners have a constitutional right of access to the courts. Lewis v. Casey, 518
 9    U.S. 343, 346 ( 1996); Bounds v. Smith, 430 U.S. 817, 821 ( 1977), limited in part on other
10    grounds by Lewis, 518 U.S. at 354. To state a claim ofa denial of the right to access the
11    courts, a prisoner must establish that he has suffered "actual injury," a jurisdictional
12    requirement derived from the standing doctrine. Lewis, 518 U.S. at 349. An "actual
13    injury" is "actual prejudice with respect to contemplated or existing litigation, such as the
14    inability to meet a filing deadline or to present a claim." Id. at 348 (citation and internal
15    quotations omitted). The right of access does not require the State to "enable the prisoner
16    to discover grievances," or even to "litigate effectively once in court." Id. at 354; see also
17    Jones v. Blanas, 393 F.3d 918, 936 (9th Cir. 2004) (defining actual injury as the
18    "inability to file a complaint or defend against a charge"). Instead, Lewis holds:
19          [T]he injury requirement is not satisfied by just any type of frustrated legal
            claim ... Bounds does not guarantee inmates the wherewithal to transform
20
            themselves into litigating engines capable of filing everything from
21          shareholder derivative actions to slip-and-fall claims. The tools it requires to
            be provided are those that the inmates need in order to attack their sentences,
22
            directly or collaterally, and in order to challenge the conditions of their
23          confinement. Impairment of any other litigating capacity is simply one of the
            incidental (and perfectly constitutional) consequences of conviction and
24
            incarceration.
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26    Id. at 346; see also Spence v. Beard, No. 2:16-CV-1828 KJN P, 2017 WL 896293, at *2-
27    3 (E.D. Cal. Mar. 6, 2017). Indeed, the failure to allege an actual injury is "fatal." Alvarez
28    v. Hill, 518 F.3d 1152, 1155 n.1 (9th Cir. 2008) ("Failure to show that a 'non-frivolous


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 1 legal claim had been frustrated' is fatal.") (quoting Lewis, 518 U.S. at 353 & n.4).
 2          In addition to alleging an "actual injury," Plaintiff must also plead facts sufficient
 3    to describe the "non-frivolous" or "arguable" nature of underlying claim he contends was
 4    lost as result of Defendants' actions. Christopher v. Harbury, 536 U.S. 403, 413-14
 5    (2002). The nature and description of the underlying claim must be set forth in the
 6    pleading "as if it were being independently pursued." Id. at 417.
 7          Plaintiff references an appeal but offers no specific facts as to how the actions of
 8    the Defendants impeded his ability to pursue an appeal of his conviction or sentence.
 9    (See Compl. at 3.) Plaintiff does not allege any "actual injury" or identify any "prejudice
10    with respect to contemplated or existing litigation, such as the inability to meet a filing
11    deadline or to present a claim." Lewis, 518 U.S. at 348. He does not describe the non-
12    frivolous or arguable nature of any of the underlying claims in his Complaint. He fails to
13    contend that any action was dismissed because he was "[u]nab[le] to meet a filing
14    deadline or to present a claim,'' Lewis, 518 U.S. at 348, as the result of any act or
15    omission on the part ofDefendants.
16          Accordingly, the Court finds that Plaintiff has failed to state an access to courts
17    upon which relief can be granted.
18          E.     CDCR
19          In addition, to the extent Plaintiff includes the CDCR as a named Defendant, his
20    Complaint fails to state any claim upon which § 1983 relief can be granted. See 28 U.S.C.
21    § 1915(e)(2)(B)(ii). This entity is not a "person" subject to suit under§ 1983. See Hale v.
22    State ofArizona, 993 F.2d 1387, 1398-99 (9th Cir. 1993) (holding that a state department
23    of corrections is an arm of the state, and thus, not a "person" within the meaning of
24    § 1983.)
25          F.     Monell Liability
26          To the extent that Plaintiff names the "San Diego Sheriffs Department,"
27    ("SDSD") as a Defendant, he fails to state a claim upon which § 1983 relief may be
28    granted. Departments of municipal entities are not "persons" subject to suit under§ 1983;

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 1 therefore, a local law enforcement agency, like the SDSD, are not proper parties. See
 2    Vance v. County of Santa Clara, 928 F. Supp. 993, 996 (N.D. Cal. 1996) ("Naming a
 3    municipal department as a defendant is .not an appropriate means of pleading a§ 1983
 4    action against a municipality.") (citation omitted); Powell v. Cook County Jail, 814 F.
 5    Supp. 757, 758 (N.D. Ill. 1993) ("Section 1983 imposes liability on any 'person' who
 6    violates someone's constitutional rights 'under color of law.' Cook County Jail is not a
 7    'person."').
 8          "Persons" under § 1983 are state and local officials sued in their individual
 9    capacities, private individuals and entities which act under color of state law, and/or the
10    local governmental entity itself. Vance, 928 F. Supp. at 995-96. The SDSD is a law
11    enforcement agency or department of the County of San Diego, but it is not a "person"
12    subject to suit under§ 1983. See e.g., United States v. Kama, 394 F.3d 1236, 1239 (9th
13    Cir. 2005) ("[M]unicipal police departments and bureaus are generally not considered
14    'persons' within the meaning of section 1983."); Rodriguez v. Cnty. of Contra Costa,
15    2013 WL 5946112 at *3 (N.D. Cal. Nov. 5, 2013) (citing Hervey v. Estes, 65 F.3d 784,
16    791 (9th Cir. 1995)) ("Although municipalities, such as cities and counties, are amenable
17    to suit under Monell [v. Dep 't of Social Servs, 436 U.S. 658 (1978)], sub-departments or
18    bureaus of municipalities, such as the police departments, are not generally considered
19    "persons" within the meaning of§ 1983."); Nelson v. Cty. of Sacramento, 926 F. Supp.
20    2d 1159, 1170 (E.D. Cal. 2013) (dismissing Sacramento Sheriffs Department from
21    section 1983 action "with prejudice" because it "is a subdivision of a local government
22    entity," i.e., Sacramento County); Gonzales v. City of Clovis, 2013 WL 394522 (E.D. Cal.
23    Jan. 30, 2013) (holding that the Clovis Police Department is not a "person" for purposes
24    of section 1983).
25          To the extent Plaintiff also asserts a claim against the County of San Diego itself,
26    his allegations are also insufficient. A municipal entity may be held liable under § 1983
27    only ifhe alleges facts sufficient to plausibly show that he was deprived of a
28    constitutional right by ind_ividually identified employees who acted pursuant to the

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 1 municipality's policy or custom. Mt. Healthy City Sch. Dist. Bd. ofEd. v. Doyle, 429 U.S.
 2    274,280 (1977); Monell, 436 U.S. at 691; Villegas v. Gilroy Garlic Festival Ass 'n, 541
 3    F .3d 950, 964 (9th Cir. 2008). The County of San Diego may not be held vicariously
 4    liable under § 1983 simply because one of its employees is alleged to have acted
 5    wrongfully. See Board of Cty. Comm 'rs. v. Brown, 520 U.S. 397, 403 (1997); Monell,
 6    436 U.S. at 691 ("[A] a municipality cannot be held liable solely because it employs a
 7    tortfeasor."); Jackson v. Barnes, 749 F.3d 755, 762 (9th Cir. 2014). Instead, the
 8    municipality may be held liable "when execution of a government's policy or custom ...
 9    inflicts [a constitutional] injury." Monell, 436 U.S. at 694; Los Angeles Cty., Cal. v.
10    Humphries, 562 U.S. 29, 36 (2010).
11           G.    Sheriff Gore -- Individual Liability
12           While William Gore, the San Diego County Sheriff is a "person" subject to suit
13    under § 1983, there are no specific factual allegations as to this Defendant.
14           These types of broad and conclusory allegations fail to plausibly show how, or to
15    what extent, Gore may be held individually liable for any constitutional injury. See Iqbal,
16    556 U.S. at 676-77; Jones v. Comm 'ty Redev. Agency of City ofLos Angeles, 733 F.2d
17    646, 649 (9th Cir. 1984) (even prose plaintiff must "ailege with at least some degree of
18    particularity overt acts which defendants engaged in" in order to state a claim). As
19    pleaded, Plaintiff plainly seeks to hold Gore liable for the acts of unidentified
20    subordinates. But "vicarious liability is inapplicable to ... § 1983 suits." Iqbal, 556 U.S.
21    at 676. Instead, "Plaintiff must plead that each Government-official defendant, through
22    [his] own individual actions, has violated the Constitution" in order to plead a plausible
23    claim for relief. Id.; see also Crowley v. Bannister, 734 F.3d 967, 977 (9th Cir.2013)
24    (supervisor may be held liable under § 1983 only if there is "a sufficient causal connection
25    between the supervisor's wrongful conduct and the constitutional violation") (citations
26    and internal quotation marks omitted); Fayle v. Stapley, 607 F.2d 858, 862 (9th Cir.
27     1979) (when a named defendant holds a supervisorial position, the causal link between
28    the defendant and the claimed constitutional violation must be specifically alleged).

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 1          H.     Claims against Beccera
 2          Plaintiff seeks to hold Defendant Becerra liable because he purportedly is
 3    "responsible for upholding const[itution]." (Compl. at 2.) "The inquiry into causation
 4    must be individualized and focus on the duties and responsibilities of each individual
 5    defendant whose acts or omissions are alleged to have caused a constitutional
 6    deprivation." Leer v. Murphy, 844 F.2d 628, 633 (9th Cir. 1988), citing Rizzo v. Goode,
 7    423 U.S. 362, 370-71 (1976); Berg v. Kincheloe, 794 F.2d 457, 460 (9th Cir. 1986);
 8 Estate of Brooks v. United States, 197 F.3d 1245, 1248 (9th Cir. 1999) ("Causation is, of
 9    course, a required element of a § 1983 claim.") A person deprives another "of a
10    constitutional right, within the meaning of section 1983, if he does an affirmative act,
11    participates in another's affirmative acts, or omits to perform an act which he is legally
12    required to do that causes the deprivation of which [the plaintiff complains]." Johnson v.
13    Duffy, 588 F.2d 740, 743 (9th Cir. 1978). Plaintiff has not stated a claim against this
14    Defendant because he has failed to allege facts regarding what actions were taken or not
15    taken by this Defendant which caused the alleged constitutional violations.
16          I.     Leave to Amend
17          Thus, for all these reasons, the Court finds Plaintiffs Complaint fails to state any
18    § 1983 claim upon which relief can be granted, and that it must be dismissed sua sponte
19    and in its entirety pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii) and§ 1915A(b)(l). See
20    Watison, 668 F.3d at 1112; Wilhelm, 680 F.3d at 1121. Because Plaintiff is proceeding
21    pro se, however, the Court having now provided him with "notice of the deficiencies in
22    his complaint," will also grant him an opportunity to fix them. See Akhtar v. Mesa, 698
23 · F.3d 1202, 1212 (9th Cir. 2012) (citing Ferdik v. Bonzelet, 963 F.2d 1258, 1261 (9th Cir.
24    1992)).
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 1 . III.   Conclusion and Orders
 2          For the reasons explained, the Court:
 3          1.     GRANTS Plaintiffs Motion to Proceed IFP pursuant to 28 U.S.C. § 1915(a)
 4    (ECF No. 3);
 5          2.     DIRECTS the Watch Commander, or his designee, to collect from
 6    Plaintiffs prison trust account the $350 filing fee owed in this case by garnishing
 7    monthly payments from his account in an amount equal to twenty percent (20%) of the
 8    preceding month's income and forwarding those payments to the Clerk of the Court each
 9    time the amount in the account exceeds $10 pursuant to 28 U.S.C. § 1915(b)(2). ALL
10    PAYMENTS MUST BE CLEARLY IDENTIFIED BY THE NAME AND NUMBER
11    ASSIGNED TO THIS ACTION;
12          3.     DIRECTS the Clerk of the Court to serve a copy of this Order on Watch
13    Commander, San Diego Central Jail, 1173 Front Street, San Diego, California 92101;
14          4.     DISMISSES Plaintiffs Complaint for failing to state a claim upon which
15    relief may be granted pursuant to 28 U.S.C. § 1915(e)(2)(B) and§ 1915A(b) and
16    GRANTS him forty-five (45) days leave from the date of this Order in which to file an
17    Amended Complaint which cures all the deficiencies of pleading noted. Plaintiffs
18    Amended Complaint must be complete by itself without reference to his original
19    pleading. Defendants not named and any claim not re-alleged in his Amended Complaint
20    will be considered waived. See S.D. Cal. CivLR 15.1; Hal Roach Studios, Inc. v. Richard
21    Feiner & Co., Inc., 896 F.2d 1542, 1546 (9th Cir. 1989) ("[A]n amended pleading
22    supersedes the original."); Lacey v. Maricopa Cnty., 693 F.3d 896, 928 (9th Cir. 2012)
23    (noting that claims dismissed with leave to amend which are not re-alleged in an
24    amended pleading may be "considered waived if not repled.").
25          If Plaintiff fails to file an Amended Complaint within the time provided, the Court
26    will enter a final Order dismissing this civil action based both on Plaintiffs failure to
27    state a claim upon which relief can be granted pursuant to 28 U.S.C. §§ 1915(e)(2)(B)
28    and 1915A(b ), and his failure to prosecute in compliance with a court order requiring

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 1    amendment. See Lira v. Herrera, 427 F.3d 1164, 1169 (9th Cir. 2005) ("If a plaintiff does
 2    not take advantage of the opportunity to fix his complaint, a district court may convert the
 3    dismissal of the complaint into dismissal of the entire action.").
 4          5.     The Clerk of Court is directed to mail a court approved form civil rights
 5    complaint to Plaintiff.
 6
 7    IT IS SO ORDERED.
 8
 9   Dated: April 6, 2020
10
                                                  Hon. Anthony J. attaglia
11                                                United States District Judge
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 7
 8                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 9

10
       DARRYL DUNSMORE,                               ))   CASE NO.: 3:20-cv-00406-AJB-WVG
11                                                    )
                     Plaintiff,                       )    SECOND DECLARATION OF KEN
12            vs.                                     )    KARAN IN SUPPORT OF FILING
                                                      )    AMENDED COMPLAINT
l3     ST A TE OF CALIFORNIA, COUNTY OF               )
       SAN DIEGO, et al. ,                            )
14                                                    )    Case Filed:   November 9, 2017
                     Defendants.                      )    CTRM:         4A
15                                                    )    Judge:        Hon. Anthony J. Battaglia
                                                                         United States Magistrate Judge
16
            I, Ken Karan, declare:
17
      1.     I am an attorney licensed to practice before all courts of the state of California, and the
18
      U.S. District Court, Southern District of California. I have personal knowledge of the following
19
      and am competent to testify thereto, except for those matters stated to be known on information
20
      and belief and as to those matters I believe them to be true.
21                                            -
      2.    I recently provided this Court with a declaration in support of a late filing of an amended
22
      complaint by Mr. Dunsmore.
23
      3.     l explained that I had an independent recollection of mailing Mr. Dunsmore' s amended
24
      complaint to the Court. I was wrong.
25
      4.     While moving file boxes over the weekend, I found Mr. Dunsmore' s amended complaint
26
      stacked on top of one box with another box on top of that. I am at fault for not handling Mr.
27
      Dunsmore' s legal papers more carefully.
28                                                  1
      Second Declaration of Ken Karan in Support of Filing Amended Complaint
      Case No.: 3 :20-cv-00406-AJB-WVG
     Case 3:20-cv-00406-AJB-WVG Document 13 Filed 07/17/20 PageID.138 Page 50 of 50



      5.     Attached as Exhibit 1 is a true and correct original of the amended complaint Mr.

 2    Dunsmore is attempting to file. I have enclosed a self-addressed stamped envelope addressed to

 3    Mr. Dunsmore for mailing a confonned copy of the caption to him.

 4    6.     As I have for Mr. Dunsmore, I apologize to the Court for my error, and for the additional

 5    effort it may take to put Mr. Dunsmore's case back on the calendar.

 6           I declare under penalty of perjury under the laws of the State of California that the
 7    foregoing is true and correct.

 8
 9    Dated: July 6, 2020
                                                     Signed: ~ t : ~
10                                                           Ken I. Karan, E~

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      Second Declaration of Ken Karan in Support of Filing Amended Complaint
      Case No.: 3 :20-cv-00406-AJB-WVG
